       Case 2:19-cv-00207-MHT-JTA Document 104 Filed 01/22/21 Page 1 of 10




        IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

              MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


JAMES MICHAEL KELLER,                             )
                                                  )
                         PLAINTIFF,               )
                                                  )
          v.                                      )       CIVIL ACTION NO.
                                                  )         2:19cv207-MHT
HYUNDAI MOTOR                                     )              (WO)
MANUFACTURING,                                    )
                                                  )
                         DEFENDANT.               )

                                    PRETRIAL ORDER

          A pretrial conference was held in the above case on January 20, 2021 wherein

the following proceedings were held and actions taken:

              1.   PARTIES AND TRIAL COUNSEL:

                   For Plaintiff, James Michael Keller:

                   Julian McPhillips
                   Chase Estes
                   K. David Sawyer
                   McPhillips Shinbaum, L.L.P.
                   ________________________________________________

                   For Defendant, Hyundai Motor Manufacturing Alabama, LLC
                   (“HMMA”):

                   Michael L. Lucas
                   Meryl Cowan
                   BURR & FORMAN, LLP
                    _______________________________________________



44835143 v2
       Case 2:19-cv-00207-MHT-JTA Document 104 Filed 01/22/21 Page 2 of 10




                      COUNSEL APPEARING AT PRETRIAL HEARING:

                     For Plaintiff, James Michael Keller: same as trial counsel.

                     For Defendant, Hyundai Motor Manufacturing Alabama, LLC
                     (“HMMA”): same as trial counsel.


              2.      JURISDICTION AND VENUE.

              (a)      The court has subject matter jurisdiction of this action under 28 U.S.C.
                       §1331.

              (b)     All jurisdictional and procedural requirements prerequisite to
                      maintaining the action described in (a) have been met.

              (c)     Personal jurisdiction and/or venue are not contested.


      3.              PLEADINGS: The following pleadings1 and amendments were
allowed:
                      Complaint (ECF No. 1)
                      Answer to Complaint (ECF No. 6)
                      Amended Complaint (ECF No. 48)
                      Answer to Amended Complaint (ECF No. 54)

              4.     CONTENTIONS OF THE PARTIES.

      (a) Plaintiff’s Contentions: The Plaintiff, Mr. Keller expects to produce the
following evidence at trial: (1) age, in violation of 29 U.S.C. § 621 et seq.

Age:

      Mike Keller was born in 1967, and hired by Hyundai in the year 2004,
although production at the Montgomery plant did not begin until 2005. During this
time, Mr. Keller was involved in a vast amount of training in the mechanical end as
well as leadership courses. In addition, Mr. Keller’s photograph was included in two
Time magazine articles about Hyundai, the first on April 25, 2005, the second on
          1
              The parties have listed all allowable pleadings pursuant to Fed. R. Civ. P. 7(a).



44835143 v2                                                   2
       Case 2:19-cv-00207-MHT-JTA Document 104 Filed 01/22/21 Page 3 of 10




June 27, 2005. During his 14 year and 3 months of employment at Hyundai, Mr.
Keller had a perfect attendance record and was arguably its most productive
employee ever. Moreover, his record was clear of any corrective action issues.

      Mr. Keller completed more projects than any of the 98 other group leaders.
As a result, Hyundai allowed more project funds to be devoted to Keller’s projects,
due to his proven track record as an effective group leader. Mr. Keller also assisted
Hyundai in achieving a cost savings total of approximately $164,950.00 by the end
of November 2011. Since that time, Mr. Keller completed other projects for
Hyundai, saving Hyundai hundreds of thousands, including inventing a jig fixture,
which improved a “parts transfer” in the 5,400-ton presses at the idle nest.

     Mr. Keller’s annual performance evaluations with Hyundai were excellent. In
Mr. Keller’s 2016 evaluation, supervisor Daryl Sanders stated:

          "Mike is a well rounded Group Leader with a lot of knowledge about
          Stamping Production… He is a valuable asset to HMMA for sure and I
          look forward to him passing his knowledge over to others."

(2016 Annual Performance and Competency Evaluation, attached as Exhibit 1).

      In the same evaluation, Mr. Keller received an overall rating of "meets
expectations" and individual ratings of "exceeds expectations" for his performance
appraisal rating and job competency assessment. Mr. Keller received "meets
expectations" on his core competency assessment and leadership competency
assessment. In Mr. Keller's 2017 performance evaluation, Mr. Sanders stated:

          "Mike is a very knowledgeable Group Leader, that is always willing to
          lend a hand when necessary. I would like Mike to not only share his
          knowledge but be more willing to engage with TM to ensure that
          Department Policy and Procedure are enforced."

(2017 Annual Performance and Competency Evaluation, attached as Exhibit 2).

      In the same evaluation, Mr. Keller received an overall mid-year rating of
"meets expectations" and individual ratings of "meets expectations" for his core
competency evaluation, leadership competency evaluation, and job competency
evaluation.

     On March 8, 2018, when Keller arrived at Hyundai, he was informed that
Hyundai was terminating his employment that day.



44835143 v2                                3
       Case 2:19-cv-00207-MHT-JTA Document 104 Filed 01/22/21 Page 4 of 10




      Mr. Keller then inquired several times about why he was being terminated.
His supervisor and Head of the Department, Mike McCabe, answered that he did not
know why Keller was chosen but it was not because of a work performance issue.

       Hyundai denies that Mr. Keller’s age was ever considered when it selected
him for termination. Yet it was not until 22 months after Mr. Keller’s termination
that Hyundai officials first came up with an alternative explanation at depositions
that Hyundai terminated Mr. Keller for leadership and morale issues related to union
sympathizers. Yet pro-union sympathies were also exhibited on the shift of Mr.
Keller’s comparator, Bill Carter, the sole other group leader in the stamping shop,
only 37 years old at the time of Mr. Keller’s termination. Further, Mr. Carter had
serious disciplinary issues during his tenure at HMMA. Also, in his group leaders’
job, Mr. Keller was replaced by a much younger Zack Morris, age 37 at the time,
and approximately 13 years Mr. Keller’s junior. HMMA vice president Chris Susock
admitted his leadership in Mr. Keller’s termination, and admitted Mr. Morris lacked
the technical expertise of Mr. Keller.

       Mr. Keller was one of 21 Hyundai employees selected for termination as the
result of this March 8, 2018 corporate restructuring. The composition of the Hyundai
employees terminated as a result of the so-called restructuring consisted of 10
specialists, 2 group leaders, 6 assistant managers, and 3 managers. No group leaders
under the age of 40 were terminated, whereas 2 group leaders, one being Mr. Keller,
over the age of 40 were terminated.

      Of the 371 specialists employed by Hyundai at that time, 242 specialists, or
65% were under the age of 40 years old, while 129 specialists, or 34%, were 40 years
or older. Of the specialists terminated, 7 were age of 40 or older, whereas only 3
were under the age of 40. Group leaders under the age of 50 or older were only 38
out of 98, and the two group leaders terminated in the March 8, 2018 so-called
“reorganization” were Mike Keller, 50, and Mark Leroy, 49. Of the 101 group
leaders employed at Hyundai, including Mr. Keller at the time of his termination, 33
group leaders, or 33%, were under the age of 40 years old, while 68 group leaders,
or 67%, were 40 years or older.

       This same trend existed for the individuals selected for termination as assistant
managers and managers in the company as a whole during the same time period in
2018. Of the 104 assistant managers employed at Hyundai, 40 assistant managers,
or 38%, were under the age of 40, while 64 assistant managers, or 62%, were 40
years or older. No assistant managers under the age of 40 were terminated, but 6
assistant managers over the age of 40 were terminated. Finally, of the 48 managers
employed at Hyundai, 9 managers, or 19%, were under the age of 40, while 39

44835143 v2                                4
       Case 2:19-cv-00207-MHT-JTA Document 104 Filed 01/22/21 Page 5 of 10




managers, or 81%, were 40 years or older. No manager under the age of 40 was
terminated, whereas 3 managers over the age of 40 were terminated.

      The pretextual nature of the reasons given by Hyundai for terminating Mr.
Keller are numerous, reflected in the 25 affidavits of co-employees, many still
working at Hyundai. Virtually everyone praises Mr. Keller’s leadership skills,
knowledge of the job and especially his high morale maintenance.

      Mr. Keller also disagrees with the accuracy of the PDR scores attributed to
him in Hyundai’s contentions and brief, and says his true PDR score for 2017 was
higher than listed, and did not include complete information, leaving out comments
and numbers, that were complimentary to him.

       Yet Hyundai replaced Mr. Keller with a 37-year-old man approximately 13
years Mr. Keller’s junior. Chris Susock, Vice President of Production, and co-
decision maker on the termination of Mr. Keller, stated that Mr. Morris was selected
“for his leadership abilities,” and that “it was apparent that [Mr. Keller’s] leadership
skills were ineffective and were not capable of performing the duties or the
expectations of the stamping operation department.” Yet there had never been any
indication in Mr. Keller’s performance reviews that his leadership skills were
lacking. Another pretext.

      Co-decision maker Craig Stapley stated “it was evident that there were a lot
of morale issues in that group” and he decided to hire Mr. Morris because his military
leadership experience was “what [Stapley] needed in the stamping plant.” Yet Mr.
Keller also came from a strong military background, and no complaints about Mr.
Keller’s leadership abilities were ever listed in his 2016 or 2017 performance
reviews. Most significantly, at least 25 of Mr. Keller’s co-workers and subordinates
believed he was an effective leader in maintaining good team morale.

       In his Brief in Opposition to Summary Judgment, Mr. Keller sets forth a prima
facie case of age discrimination under the ADEA against Hyundai, showing he was
a member of a protected group, terminated from his position, and replaced by
someone younger, and less qualified. Mr. Keller was actually highly qualified for
his position and says Hyundai’s preferred reason for his termination was pretextual.
As reflected by the foregoing, Mr. Keller insists that younger Hyundai employees
were treated more favorably than him, that he was an effective leader and maintained
good morale, and Hyundai routinely discriminated against older employees in
employment decisions.




44835143 v2                                5
       Case 2:19-cv-00207-MHT-JTA Document 104 Filed 01/22/21 Page 6 of 10




      Hyundai’s expert’s testimony was flawed by her own admission that it should
not be used as evidence at trial.

      Finally, Mr. Keller’s brief cited ample case law, showing that the “but for”
causation standard for ADEA does not require that age discrimination be the sole
cause under settled law.

        (b) Defendant’s Contentions: HMMA is an equal opportunity employer
who precludes discrimination on the basis of age, among other reasons, and HMMA
also respects its team members’ Section 7 rights, does not interfere with those rights,
trains its managers and group leaders regarding positive labor relations, and respects
its team members’ right to make their own decision regarding union representation.
HMMA has a published, lawful position on unions and expressly forbids any
managerial-level employee from violating a team members' protected Section 7
rights or engaging in unlawful discrimination. Plaintiff never once raised concerns
of age discrimination or retaliation for engaging in protected Section 7 activity (or
any other concerns about discrimination or mistreatment of any kind) during his
employment at HMMA.

        At all relevant times, Plaintiff was a salaried Group Leader (the equivalent of
a front-line supervisor and the first level of management at HMMA) in the stamping
shop at HMMA. Throughout his employment, hourly team members in the stamping
shop reported directly to Plaintiff, and he was responsible for managing and leading
his direct reports. Plaintiff was the weakest performer and leader in the Stamping
Department, as reflected by his consistently low annual performance appraisal
("PMR") scores since 2013. In the stamping shop, prior to the corporate
reorganization, there were just two Group Leaders, Plaintiff and Billy Carter
(“Carter”). Plaintiff's and Carter's PMR scores were as follows:

              PLAINTIFF                              CARTER

                  2013 – 3.10                               2013 – 3.50

                  2014 – 3.25                               2014 – 3.42

                  2015 – 3.35                               2015 – 3.39

                  2016 – 3.03                               2016 – 3.42

                  2017 – 3.00                               2017 – 3.44




44835143 v2                               6
       Case 2:19-cv-00207-MHT-JTA Document 104 Filed 01/22/21 Page 7 of 10




        HMMA's policy on third parties became particularly relevant in 2015 and
2016 when HMMA was the focus of open and obvious union organizing activity –
especially in Plaintiff's area. During this period, HMMA increased its expectations
of Group Leaders and specifically requested that each Group Leader meaningfully
engage with his/her team members respecting HMMA’s published policy on third
parties. Plaintiff admits that HMMA conducted regular management training on the
topic of third party representation, but he conceded "most of the time [he] didn't –
[he] didn't make it." Plaintiff admitted he should have talked to his team members
and convey HMMA's position on third parties. Plaintiff admitted that his
management expected Plaintiff to talk to team members and to explain to them that
HMMA did not feel its team members need a union. Plaintiff, however, recalls only
communicating one time with his team members as a group and only speaking with
one of his team members on this topic. Plaintiff’s failure to engage with his
subordinates demonstrated a lack of leadership. HMMA never precluded anyone
from doing anything to join or support a labor union, never mistreated any team
member who was in favor of the union, and never instructed Plaintiff (or anyone
else) to do anything wrong or unlawful towards team members in favor of the union.

        In early 2018, HMMA faced a significant decrease in customer demand and
sales. As a result, HMMA implemented various cost reduction strategies, including
reducing the daily work hours of hourly team members and implementing non-
production days. In order to further improve efficiency, Robert Burns, Vice
President of Human Resources, Administration, decided to implement a company-
wide corporate reorganization for salaried team members. Plaintiff's employment
(along with twenty other salaried team members) with HMMA was terminated on
March 8, 2018 as part of HMMA's corporate reorganization. Plaintiff was 50 years
of age at that time. Chris Susock, the manager who selected Plaintiff for inclusion
in the corporate reorganization was 54 years of age at the time, and his decision was
approved by Robert Burns, who was 56 years of age at the time. Susock stated, in
brief, his reasons for selecting Plaintiff: "[l]owest P[M]Rs for Stamping Group
Leaders since 2012, not self-sufficient, requiring constant supervision, lacks respect
from his subordinates." Susock explained that the respect criteria primarily related
to the fact that Plaintiff had a substantial number of pro-union team members in his
group which demonstrated to HMMA that Plaintiff was not providing leadership to
his team members and was too afraid to engage with them.

       There were 98 team members who were Group Leaders at the time of
Plaintiff’s departure from the company. Some notable statistics related to the age of
those Group Leaders include the following:



44835143 v2                               7
       Case 2:19-cv-00207-MHT-JTA Document 104 Filed 01/22/21 Page 8 of 10




                    72 of the 98 team members who were Group Leaders at the time of
                     Plaintiff’s departure are age 40 or above.
                    51 of the 98 team members who were Group Leaders at the time of
                     Plaintiff’s departure are age 45 or above.
                    38 of the 98 team members who were Group Leaders at the time of
                     Plaintiff’s departure are age 50 or above.
                    18 of the 98 team members who were Group Leaders at the time of
                     Plaintiff’s departure are age 55 or above.
                    4 of the 98 team members who were Group Leaders at the time of
                     Plaintiff’s departure are age 60 or above.
                    27 of the 98 team members who were Group Leaders at the time of
                     Plaintiff’s departure are older than Plaintiff.

        Dr. Carole M. Amidon, a labor economist with a Ph.D. in Economics who
has served as an expert witness in approximately 150 employment law cases,
conducted an analysis in accordance with generally accepted scientific principles,
and she concluded there was no statistically significant differences in the rate in
which team members of age 40 and over were subject to the corporate reorganization
for the Group Leader position.

       Since his termination of employment, Plaintiff has run his own business
raising bees and selling honey, and he earned around $50,000 in 2019 alone from
his business. Plaintiff has failed to mitigate his damages, and therefore, his right to
recovery should be barred accordingly.

       All employment decisions concerning Plaintiff were based on legitimate,
non-discriminatory, non-retaliatory reasons. Plaintiff’s age had nothing to do with –
and was not the “but for” cause – of his termination of employment at HMMA.

       To the extent Plaintiff has taken a position in another forum that is
inconsistent with his position in this forum, his claim is barred by collateral estoppel,
issue preclusion, and/or any other applicable equitable defenses.

              5.     STIPULATIONS BY AND BETWEEN THE PARTIES:

          Stipulated Facts:

                    HMMA, operates an automobile manufacturing facility in
                     Montgomery, Alabama that produces the Hyundai Sonata, Sante Fe and
                     Elantra automobiles.



44835143 v2                                    8
       Case 2:19-cv-00207-MHT-JTA Document 104 Filed 01/22/21 Page 9 of 10




                  Plaintiff was born in 1967.

                  Plaintiff was hired at HMMA on January 5, 2004 as a production
                   worker in the stamping shop.

                  Approximately one year later, Plaintiff became a Team Leader and
                   subsequently Plaintiff was promoted to Group Leader in the stamping
                   shop.

                  Group Leaders are the equivalent of front-line supervisors.

                  Plaintiff’s employment with HMMA ended as of March 8, 2018.

                  Plaintiff was 50 years of age at the time of his termination.


                                             * * *

          It is ORDERED that:

          (1) The jury selection and trial of this cause, which

is to last 2-5 days, are set for March 15, 2021, at 10:00

a.m.          at    the    United      States        Courthouse      in    Montgomery,

Alabama;

          (2) A trial docket will be mailed to counsel for

each party approximately two weeks prior to the start of

the trial term;

          (3) Each party shall have available at the time of

trial, for use by the court (the judge, the courtroom

deputy clerk, and the law clerk), three copies of the



44835143 v2                                      9
      Case 2:19-cv-00207-MHT-JTA Document 104 Filed 01/22/21 Page 10 of 10




exhibit list and a sufficient number of copies of each

photostatically           reproducible         exhibit      for   opposing

counsel, the courtroom deputy clerk, the law clerk, the

jurors, and the judge to each have a set of the exhibits;

          (4) Trial briefs ((a) summarizing the evidence to be

presented at trial, (b) setting forth the elements of

each and every claim and defense at issue and how the

evidence does or does not satisfy those elements, and (c)

addressing        any   evidentiary         issues   that   may   arise      at

trial) are required to be filed by March 1, 2021;

          (5) All deadlines not otherwise affected by this

order will remain as set forth in the uniform scheduling

order (doc. no. 14) entered by the court on May 9, 2019,

as amended; and

          (6) All understandings, agreements, deadlines, and

stipulations contained in this pretrial order shall be

binding on all parties unless this order be hereafter

modified by order of the court.

          DONE, this the 22nd day of January, 2021.

                                        /s/ Myron H. Thompson
                                     UNITED STATES DISTRICT JUDGE


44835143 v2                            10
